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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 NEC CORPORATION OF AMERICA,                        §
                                                    §
        Plaintiff,                                  §
                                                    §
                v.                                  § Civil Action No. 1:15-cv-09479
                                                    § Judge Virginia M. Kendall
 WILDCAT LICENSING LLC, JEFFREY W.                  §
 SALMON, and SOCKEYE LICENSING TX                   §
 LLC,                                               § Jury Trial Demanded
                                                    §
        Defendants.                                 §

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff NEC Corporation of America and Defendants Wildcat Licensing LLC, Jeffrey W.

Salmon, and Sockeye Licensing TX LLC, by and through their counsel of record, hereby submit

this joint stipulation for dismissal with prejudice of all claims, counterclaims, and defenses

asserted, or that could have been asserted, in this case related to U.S. Patent Nos. 8,135,342 and

8,879,987. Each party shall bear its own attorneys’ fees and costs incurred in this action.

       Accordingly, it is hereby ORDERED, ADJUDGED and DECREED that all claims,

counterclaims, and defenses asserted, or that could have been asserted, in this case related to U.S.

Patent Nos. 8,135,342 and 8,879,987 are dismissed with prejudice. It is further ORDERED that

each party shall bear its own attorneys’ fees and costs.

       SO ORDERED this _____ day of March, 2016:




                                                           Virginia M. Kendall
                                                           United States District Judge
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STIPULATED AND AGREED TO:


Dated March 29, 2016


/s/ __Adam Allgood                  _       /s/Stefanie T. Scott___________________
Jason C. White                              Frank John Andreou
Email: jwhite@morganlewis.com               Email: fandreou@andreou-casson.com
Morgan Lewis & Bockius LLP                  Brittni Wynser King
77 West Wacker Drive                        Email: bking@andreou-casson.com
Chicago, IL 60601                           Andreou & Casson, Ltd.
(312) 324-1775                              661 West Lake Street
Fax: (312) 324-1001                         Suite 2 North
                                            Chicago, IL 60661
Adam Allgood                                (312) 935-2000
Email: aallgood@morganlewis.com
Jason Muriby                                Andrew G. DiNovo
Email: jmuriby@morganlewis.com              Email: adinovo@dpelaw.com
Morgan, Lewis & Bockius Llp                 Stefanie Tina Scott
1000 Louisiana Street, Suite 4000           Email: sscott@dpelaw.com
Houston, TX 77002                           DiNovo Price Ellwanger & Hardy LLP
                                            7000 North MoPac Expressway
Robert Busby                                Suite 350
Email: rbusby@morganlewis.com               Austin, TX 78731
Morgan, Lewis & Bockius Llp                 (512) 539-2626
1111 Pennsylvania Avenue, Nw                Fax: (512) 539-2627
Washington, DC 20004
(202) 739-5970                              Counsel for Defendants Wildcat
                                            Licensing LLC, Jeffrey W. Salmon, and
Counsel for Plaintiff                       Sockeye Licensing TX LLC
NEC Corporation of America
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 29, 2016, the JOINT STIPULATION OF DISMISSAL

WITH PREJUDICE was electronically filed using the Court’s ECF system, which will send an

electronic copy of this filing to all counsel of record.

                                                           /s/Stefanie T. Scott
                                                           Stefanie T. Scott
